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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                            Magistrate Judge Kathleen M. Tafoya

Civil Action No. 21–cv–01776–KMT


UNITED STATES SECURITIES AND EXCHANGE COMMISSION,

       Plaintiff,

v.

SKIHAWK CAPITAL PARTNERS, LLC,
THE CONVERGENCE GROUP, LLC,
CLEMENT M. BORKOWSKI,
SEAN A. HAWKINS, and
JOSEPH P. SCHIFF,

       Defendants.


                     ORDER SETTING INITIAL CASE DEADLINES


      This case has been directly assigned to Magistrate Judge Kathleen M. Tafoya pursuant to
D.C.COLO.LCivR 40.1(c) allowing the direct assignment of cases to magistrate judges.

       IT IS HEREBY ORDERED:

       (1) A Scheduling Conference will not be set at this time. The parties shall submit their
proposed scheduling order, pursuant to District of Colorado Electronic Case Filing (“ECF”)
Procedures, on or before:

                                         August 25, 2021.

        A copy of instructions for the preparation of a scheduling order and a form scheduling
order can be downloaded from the Court’s website at
www.cod.uscourts.gov/CourtOperations/RulesProcedures/Forms.aspx (scroll down to the bold
heading “Civil”). For patent cases, a copy of a form scheduling order in a patent case can be
downloaded from the Court’s website at
http://www.cod.uscourts.gov/JudicialOfficers/ArticleIMagistrateJudges/HonKathleenMTafoya.a
spx. Parties shall prepare the appropriate proposed scheduling order in accordance with the
Court’s form.
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        Pro se parties not participating in ECF shall submit their proposed scheduling order on
paper to the Clerk’s Office. However, if any party in the case is participating in ECF, it is the
responsibility of that party to submit the proposed scheduling order pursuant to the District of
Colorado ECF Procedures.

        (2) The parties shall complete and file the Election Concerning Consent/Non-Consent to
United States Magistrate Judge Jurisdiction indicating either unanimous consent of the parties or
that consent has been declined on or before:

                                           August 25, 2021.

Please note that this date may be earlier or later than the default deadlines contemplated in
D.C.COLO.LCivR 40.1(c)(4).

        (3) The parties are directed to confer in accordance with Fed. R. Civ. P. 26(f). The
parties may meet by telephone conference. All parties are jointly responsible for arranging and
attending the Rule 26(f) meeting.

        During the Rule 26(f) meeting, the parties shall discuss the nature and basis of their
claims and defenses and the possibilities for a prompt settlement or resolution of the case, make
or arrange for the disclosures required by Fed. R. Civ. P. 26(a)(1), and develop their proposed
scheduling/discovery plan. The parties should also discuss the possibility of informal discovery,
such as conducting joint interviews with potential witnesses, joint meetings with clients,
depositions via telephone, or exchanging documents outside of formal discovery.

        In those cases in which: (i) the parties’ substantive allegations involve extensive
computer-generated records; (ii) a substantial amount of disclosure or discovery will involve
information or records in electronic form (i.e., e-mail, word processing, databases); (iii) expert
witnesses will develop testimony based in large part on computer data and/or modeling; or (iv)
any party plans to present a substantial amount of evidence in digital form at trial, the parties
shall confer regarding steps they can take to preserve computer records and data, facilitate
computer-based discovery and who will pay costs, resolve privilege issues, limit discovery costs
and delay, and avoid discovery disputes relating to electronic discovery. The parties shall be
prepared to discuss these issues, as appropriate, in the proposed Scheduling Order.

       These are the minimum requirements for the Rule 26(f) meeting. The parties are
encouraged to have a comprehensive discussion and are required to approach the meeting
cooperatively and in good faith. The parties are reminded that the purpose of the Rule 26(f)
meeting is to expedite the disposition of the action, discourage wasteful pretrial activities, and
improve the quality of any eventual trial through more thorough preparation. The discussion of
claims and defenses shall be a substantive, meaningful discussion.



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       The parties are reminded that pursuant to Fed. R. Civ. P. 26(d), no discovery shall be
sought prior to the Rule 26(f) meeting.

        (4) The parties shall comply with the mandatory disclosure requirements of Fed. R. Civ.
P. 26(a)(1). Counsel and parties are reminded that mandatory disclosure requirements
encompass computer-based evidence which may be used to support claims or defenses.
Mandatory disclosures must be supplemented by the parties consistent with the requirements of
Fed. R. Civ. P. 26(e). Mandatory disclosures and supplementation are not to be filed with the
Clerk of the Court.

        (5) All parties are expected to be familiar with the United States District Court for the
District of Colorado Local Rules of Practice (D.C.COLO.LCivR.). Copies are available from
Office of the Clerk, United States District Court for the District of Colorado, or through the
District Court’s web site: www.cod.uscourts.gov.

       (6) The plaintiff(s) or, on removed cases, the defendant(s) shall provide a copy of this
Order to all parties who have not yet entered an appearance.

       Dated this 30th day of June, 2021.

                                                      BY THE COURT:



                                                      _________________________________
                                                      Kathleen M. Tafoya
                                                      United States Magistrate Judge




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